
Howell, Judge,
delivered the opinion of the court.
Plaintiffs, citizens and residents of the Philippines, sue to recover the value of supplies and money requisitioned by recognized guerrilla units and by units of the United States Army in the Philippines, during the period of the Japanese occupation of the Philippines.
*549Plaintiffs’ petitions were filed in this court on December 31, 1952 and defendant has filed a motion to dismiss on the ground that the claims therein are barred by the statute of limitations because the petitions were not filed within six years of September 2, 1945. Marcos v. United States, 122 C. Cls. 641.
Plaintiffs contend that their causes of action did not accrue until defendant, by command of General MacArthur, assumed the obligation of paying such claims and until the agency (Army Claims Service) designated for the purpose of considering and settling the claims had been established.
All of the arguments urged by plaintiffs herein were considered and disposed of adversely to plaintiffs’ position in our decision this day issued in the case of Alfredo C. Sese v. United States, ante, p. 526. Accordingly plaintiffs’ petitions are dismissed.
It is so ordered.
Malden, Judge; WhitakeR, Judge; Littleton, Judge; and Jones, Chief Judge, concur.
